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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )                      4:10CR3092
                                             )
           v.                                )
                                             )
DAVID W. SEEVERS, MARCELLA M.                )          MEMORANDUM AND ORDER
SCHARTON,                                    )
                                             )
                   Defendants.               )


     IT IS ORDERED:

     1)    Defendant David Seevers’ motion for new counsel, (filing no. 29), is granted
           effective upon an entry of appearance by new retained counsel on defendant Seevers’
           behalf.

     2)    As to both defendants, trial of this case is continued, and is now set to commence
           before the Honorable Richard G. Kopf at 9:00 a.m. on April 11, 2011, or as soon
           thereafter as the case may be called, for a duration of four (4) trial days, in Courtroom
           1, United States Courthouse, Lincoln, Nebraska. Jury selection will be held at
           commencement of trial.

     3)    Due to defendant Seevers’ change of counsel, the Court further finds the ends of
           justice will be served by continuing the trial; and the purposes served by continuing
           the trial date in this case outweigh the interest of the defendant and the public in a
           speedy trial. Accordingly, the time between today’s date and April 11, 2011 shall be
           excluded for speedy trial calculation purposes. 18 U.S.C. § 3161(h)(7)(A).


     DATED this 15th day of February, 2011.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge
